                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                          CRIMINAL DOCKET NO.: 5:03cr20-13

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
MARTY DOUGLAS MARTIN,               )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on the Judgment of the Fourth Circuit Court of

Appeals, filed September 21, 2006,1 remanding this case for resentencing.

       IT IS, THEREFORE, ORDERED THAT:

       1)        This matter is hereby scheduled for resentencing on Monday, December 18,

                 2006, at 9:30 AM in the Statesville Division;

       2)        The United States Marshal is directed to return Defendant to the Western District

                 of North Carolina on or before November 21, 2006; and

       3)        A copy of this Order shall be sent to the Defendant, Defense Counsel, United

                 States Attorney, United States Marshal Service, United States Probation Office,

                 and Courtroom Deputy.
                                                  Signed: October 20, 2006




       1
           The mandate issued October 13, 2006.


    Case 5:03-cr-00020-KDB-SCR             Document 333        Filed 10/20/06     Page 1 of 1
